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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                             ______
                                    )
CHRISTOPHER LAGOS                   )
     Plaintiff,                     )
                                    )
v.                                  ) Civil Action No. 1:13-cv-11211
                                    )
                                    )
FAIR COLLECTION & OUTSOURCING, INC. )
     Defendant,                     )
                                    )


                               STIPULATION OF DISMISSAL

       Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii), the Plaintiff Christopher Lagos and the
defendant, Fair Collection & Outsourcing, Inc., hereby stipulate to the voluntary dismissal of the
above captioned action, with prejudice and each of them to bear their own costs, attorney fees
and waiving all rights of appeal. This Stipulation of Dismissal is limited to the Complaint filed
by the plaintiff, Christopher Lagos, in this action only. This Stipulation of Dismissal does not
apply to any collection action that has been or may be filed against Christopher Lagos by the
defendant.


RESPECTFULLY SUBMITTED:


CHRISTOPHER LAGOS                                   FAIR COLLECTION & OUTSOURCING,
                                                    INC.

By his attorney,                                      By its attorney,

/s/ Kevin V. K. Crick                               /s/ David W. McGough
Kevin Crick                                         David W. McGough
BBO # 680950                                        BBO # 553069
Consumer Rights Law Firm, PLLC                      Long & Leahy
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Andover, Massachusetts, 01810                       29th Floor
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Dated: July 3, 2013



                                       PROOF OF SERVICE

          We hereby certify that on July 15, 2013, a true copy of the foregoing was filed electronically
in accordance with the Court’s Electronic Filing Guidelines. Notice of this filing will be sent to all
parties by operation of the court’s electronic filing system and electronic email. Parties may access
this filing through the court’s system.

                                                       /s/ Kevin V. K. Crick, Esq.

                                                       /s/ David M. McGough, Esq.




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